      Case 17-06860                 Doc 15         Filed 06/06/17 Entered 06/08/17 23:40:30                  Desc Imaged
                                                  Certificate of Notice Page 1 of 4
Information to identify the case:
Debtor 1              Hiyam H Abdeljabbar                                         Social Security number or ITIN   xxx−xx−7602
                      First Name   Middle Name   Last Name                        EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                          Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                  EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Northern District of Illinois

Case number: 17−06860



Order of Discharge                                                                                                         12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Hiyam H Abdeljabbar
           aka Heyam H Abdeljabbar


           June 6, 2017                                                   For the court: Jeffrey P. Allsteadt, Clerk
                                                                                         United States Bankruptcy Court


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                           This order does not prevent debtors from paying
and it does not determine how much money, if                             any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                     debts according to the reaffirmation agreement.
                                                                         11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                Most debts are discharged
attempt to collect a discharged debt from the                            Most debts are covered by the discharge, but not
debtors personally. For example, creditors                               all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                          personal liability for debts owed before the
or otherwise try to collect from the debtors                             debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                         Also, if this case began under a different chapter
in any attempt to collect the debt personally.                           of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                         to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                              are discharged.
However, a creditor with a lien may enforce a                            In a case involving community property: Special
claim against the debtors' property subject to that                      rules protect certain community property owned
lien unless the lien was avoided or eliminated.                          by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                            not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                        For more information, see page 2 >




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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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                                      United States Bankruptcy Court
                                      Northern District of Illinois
In re:                                                                                 Case No. 17-06860-JSB
Hiyam H Abdeljabbar                                                                    Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0752-1          User: admin                  Page 1 of 2                   Date Rcvd: Jun 06, 2017
                              Form ID: 318                 Total Noticed: 54


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 08, 2017.
db             +Hiyam H Abdeljabbar,    8333 Portsmouth Drive,    Unit D,    Darien, IL 60561-8535
25409806       +ABC Financial Services,    PO Box 6800,    Sherwood, AR 72124-6800
25409811       +BJC Hospital,    1 Barnes Jewish Hospital Plaza,    Saint Louis, MO 63110-1003
25409812       +Capitol One Auto,    PO Box 30253,    Salt Lake City, UT 84130-0253
25409816       +Dfs/cash Central Of Mi,    84 E 2400 North,    North Logan, UT 84341-2902
25409818       +Heavner, Beyers & Mihlar,    PO Box 740,    Decatur, IL 62525-0740
25409820        IH3 Property Illinois LP,    5509 N Cumberland Ave, Ste 505,     Chicago, IL 60656-4748
25409821       +IH3 Property Illinois LP,    1717 Main Street, Ste 2000,     Dallas, TX 75201-4657
25409822        Illinois Corporation Service Company,     801 Adlai Stevenson Drive,    Springfield, IL 62703-4261
25409824       +Loyola Medicine,    Two Westbrook Corporate Center,     Suite 600,   Westchester, IL 60154-5716
25409825       +Loyola Medicine,    Two Westbrook Corporate Center,     Suite 700,   Westchester, IL 60154-5723
25409826       +Loyola Univ Medical Center,    2160 S. First Ave.,     Maywood, IL 60153-3328
25409827       +Loyola University Health System,     2160 S First Avenue,    Maywood, IL 60153-3328
25409828       +Loyola University Medical Center,     Patient Financial Services,    2160 South First Avenue,
                 Maywood, IL 60153-3328
25409829       +Mariner Finance,    8211 Town Center Drive,    Nottingham, MD 21236-5904
25409830        Mericredit, Inc.,    P.O. Box 1629,    Maryland Heights, MO 63043-0629
25409831       +Montecito Master HOA,    242 Old Sulphur Spring Road,     Manchester, MO 63021-5353
25409832        Nationwide Credit & Collection Inc,     c/o Evergreen Bank Group,    Oak Brook, IL 60522-3219
25409835       +PNC Bank,   Attn: Bankruptcy,    249 5th Ave Suite 30,     Pittsburgh, PA 15222-2707
25409836       +PNC Bank,   PO Box 8703,    Dayton, OH 45401-8703
25409834       +Personal Finance,    6392 S Cass Ave,    Westmont, IL 60559-3207
25409838        Ronald W. Goers, D.D.S., P.C.,     6700 Route 83,   Darien, IL 60561-3972
25409839       +Scott & Krause, LLC,    150 S. Wacker Drive, Suite 2900,     Chicago, IL 60606-4206
25409850      ++TOWER LOAN,   P O BOX 320001,    FLOWOOD MS 39232-0001
               (address filed with court: Tower Loan,      PO Box 320001,    Flowood, MS 39232)
25409853       +Us Dept of Ed/Great Lakes Educational Lo,     2401 International,    Madison, WI 53704-3121
25409854       +Us Dept of Ed/Great Lakes Educational Lo,     PO Box 7860,    Madison, WI 53707-7860
25409855        Washington University Physicians,     P.O. Box 502432,    Saint Louis, MO 63150-2432

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr             +EDI: QBPHELMS.COM Jun 07 2017 00:28:00      Brenda Porter Helms, ESQ,     The Helms Law Firm, P.C.,
                 3400 West Lawrence,    Chicago, IL 60625-5104
25409809        EDI: BANKAMER.COM Jun 07 2017 00:28:00      Bank Of America,    PO Box 982238,
                 El Paso, TX 79998
25409807       +EDI: BANKAMER.COM Jun 07 2017 00:28:00      Bank Of America,    Nc4-105-03-14,     PO Box 26012,
                 Greensboro, NC 27420-6012
25409808        EDI: BANKAMER2.COM Jun 07 2017 00:28:00      Bank of America,    PO Box 15168,
                 Wilmington, DE 19850-5168
25409813       +EDI: RCSFNBMARIN.COM Jun 07 2017 00:28:00      Credit One Bank Na,     PO Box 98873,
                 Las Vegas, NV 89193-8873
25409814       +EDI: RCSFNBMARIN.COM Jun 07 2017 00:28:00      Credit One Bank Na,     PO Box 98875,
                 Las Vegas, NV 89193-8875
25409815        EDI: IRS.COM Jun 07 2017 00:28:00      Department of the Treasury,     Internal Revenue Service,
                 P.O.Box 7346,   Philadelphia, PA 19101-7346
25409817        EDI: FORD.COM Jun 07 2017 00:28:00      Ford Credit,    P.O. Box 62180,
                 Colorado Springs, CO 80962
25409819       +E-mail/Text: hfcbkfiling@heightsfinance.com Jun 07 2017 01:09:29        Heights Finance Corp.,
                 PO Box 9520,   Peoria, IL 61612-9520
25409823        E-mail/Text: rev.bankruptcy@illinois.gov Jun 07 2017 01:06:44
                 Illinois Department of Revenue,    Bankruptcy Section,    PO Box 64338,    Chicago, IL 60664-0338
25409833       +E-mail/Text: bgiron@ncsplus.com Jun 07 2017 01:06:10       NCSplus Incorporated,
                 117 East 24th Street, 5th Floor,    New York, NY 10010-2937
25409837       +E-mail/Text: bankruptcy@risecredit.com Jun 07 2017 01:08:05       Rise,
                 4150 International, Suite 300,    Fort Worth, TX 76109-4819
25409840       +EDI: RMSC.COM Jun 07 2017 00:28:00      Synchrony Bank,    PO Box 965064,
                 Orlando, FL 32896-5064
25414258       +EDI: RMSC.COM Jun 07 2017 00:28:00      Synchrony Bank,    c/o PRA Receivables Management, LLC,
                 PO Box 41021,   Norfolk, VA 23541-1021
25409841       +EDI: RMSC.COM Jun 07 2017 00:28:00      Synchrony Bank,    950 Forrer Blvd,
                 Kettering, OH 45420-1469
25409842       +EDI: RMSC.COM Jun 07 2017 00:28:00      Synchrony Bank/Banana Republic,     PO Box 965064,
                 Orlando, FL 32896-5064
25409843       +EDI: RMSC.COM Jun 07 2017 00:28:00      Synchrony Bank/Banana Republic,     PO Box 965005,
                 Orlando, FL 32896-5005
25409845        EDI: RMSC.COM Jun 07 2017 00:28:00      Synchrony Bank/Walmart,     PO Box 965024,
                 El Paso, TX 79998
25409844       +EDI: RMSC.COM Jun 07 2017 00:28:00      Synchrony Bank/Walmart,     PO Box 965064,
                 Orlando, FL 32896-5064
25409849       +EDI: TDBANKNORTH.COM Jun 07 2017 00:28:00      TD Bank, NA,    1701 Route 70 East,
                 Cherry Hill, NJ 08003-2335
25409847       +EDI: WTRRNBANK.COM Jun 07 2017 00:28:00      Target,    PO Box 673,    Minneapolis, MN 55440-0673
25409846       +EDI: WTRRNBANK.COM Jun 07 2017 00:28:00      Target,    C/O Financial & Retail Srvs,
                 Mailstopn BT PO Box 9475,     Minneapolis, MN 55440-9475
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District/off: 0752-1                  User: admin                        Page 2 of 2                          Date Rcvd: Jun 06, 2017
                                      Form ID: 318                       Total Noticed: 54


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
25409848       +EDI: WTRRNBANK.COM Jun 07 2017 00:28:00      Td Bank USA/Target,   PO Box 673,
                 Minneapolis, MN 55440-0673
25409852        EDI: USBANKARS.COM Jun 07 2017 00:28:00      US Bank/Rms CC,   4325 17th Ave S,
                 Fargo, ND 58125
25409851        EDI: USBANKARS.COM Jun 07 2017 00:28:00      US Bank/Rms CC,   Card Member Services,
                 PO Box 108,   St Louis, MO 63166
25409857       +EDI: WFFC.COM Jun 07 2017 00:28:00      Wells Fargo Dealer Services,   P.O. Box 3569,
                 Rancho Cucamonga, CA 91729-3569
25409856       +EDI: WFFC.COM Jun 07 2017 00:28:00      Wells Fargo Dealer Services,   P.O. Box 1697,
                 Winterville, NC 28590-1697
                                                                                             TOTAL: 27

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
25409810          Belal Abdelnabi
                                                                                                                    TOTALS: 1, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 08, 2017                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 6, 2017 at the address(es) listed below:
              Brenda Porter Helms, ESQ   brenda.helms@albanybank.com, bhelms@ecf.epiqsystems.com
              James J Haller   on behalf of Debtor 1 Hiyam H Abdeljabbar jhaller@sulaimanlaw.com,
               courtinfo@sulaimanlaw.com;bkycourtinfo@gmail.com;ecfnotice@sulaimanlaw.com;sulaiman.igotnotices@g
               mail.com;bkecf_sulaiman@bkexpress.info;r46351@notify.bestcase.com
              Patrick S Layng   USTPRegion11.ES.ECF@usdoj.gov
                                                                                            TOTAL: 3
